                                                                                                                                     P(
          Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 1 of 16 PageID #:1
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                                TIIIITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS


   Norqo E, Broar?                                          )               16CV9396
                                                            )               JUDGE GETTLEMAN
                                                            )               MAG. JUDGE WEISMAN
                                                            )
Plaintiff(s),                                               )      Case
                                                            )
                                                            )
                                    t)s sD#/u)              )
                                                            )
                                                                                                   RECEIVED
 fi. 'fpnntkr t/r,l                                         )                                        sLP 30 2016 0l
                                                            )
Defendant(s).                                               )                                          THOMAS G. BRUTON
pr. Sa.nc)r+ Thomas                                                                                 CLERK, U.S. DISTRICT COURT
Dr. got trt c)a, K t b baa
                        COMPLAINT OF EMPLOYMENT DISCRIMINATION

 1.    This is an action for employment discrimination.

 z.    rhe prainti   ri,            t/lUrgO f . Broufl                                                                      of the

 county   ot             LO 0      K                                 in the state of             I L Lt nJolJ

 3. The defendant is                  Llub )h tls   * /bo                                                                   whose
 ff)rs.Jennrkr //l              pe drZ 2rc.rt KrbaznS,
 ,o."t riar.rr     ir 4
 ("n   W-fr:-'b                @o,x,ti-Q-Q          ?K                       )Lhntuis               Qwl      bo418
 (Defendant's telephone                      ) - I 5 7 - b )'o o
                                 number) Q}f -(state)
 4.    The plaintiff sought employment or was employed by the defendant at (street address)

                                                                                              Cct'n)rg Uub H'tU
                                                                                      "itv1
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      Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 2 of 16 PageID #:2
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e

5.    The plaintifffcheck one boxl

      (a) tr            was denied employment by the defendant.

      (b) F             was hired and is still employed by the defendant.

      (c) tr            was employed but is no longer employed by the defendant.

6.    The defendant discriminated against the plaintiff on or about or beginning on or about,
      (*or*)-4+-CLL-,                    @ui / 3, (y"dfu/-h-.
7.1   (Choose paragraph 7.1             or   7.2, do not complete both.)

      (a)   The defendant is not a federal governmental agency, and the plaintiff
            lcheck one box]         lhas
                                     Ehas not fileda charge or charges against the defendant

            asserting the acts of discrimination indicated in this complaint with any of the

            following govemment agencies               :



            O           E   the United States Equal Employment Opporhrnity Commission, on or about

                        (monu)=fu!$-                  <auy>---b-(year1 )O /                   b    .



            (ii) tr         the Illinois Deparhnent of Human Rights, on or about

                        (month)                       (dav)-               (vear)-.
      (b)   If   charges were      fledwith      an agency indicated above, a copy of the charge rs

            attached.        K   Yes,   E No, but plaintiffwiil file a copy of the charge within 14 days.

      It is the poticy of both the Equal Employment Opportunity Commission and the Illinois

      Departrnent of Human Rights to cross-file with the other agency all charges received. The

      plaintiffhas no rerrson to believe that this policy was not followed in this case.



7.2   The defendant is a federal govemmental agency, and

      (a)        ttre   plaintiffpreviously filed     a Complaint of Employment Discrimination                     with the

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     Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 3 of 16 PageID #:3
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     defendant asserting the acts of discrimination indicated in this court complaint.

                    E     Yes (month)                                  (day)_            (year)

                    E     No, did not file Complaint of Employment Discrimination

     (b)            The plaintiffreceived a Final Agency Decision on (month)

                    (dav)                  (vear)

     (c)            Attached is a copy of the

                    (i)     -
                          Complaint of Employment Discrimination,

                          E Yes E No, but a copy will be filed within 14 days.
                    (ii) Final Agency Decision

                          E Yes E N0, but a copy will be frled within 14 days.

8.   (Complete paragraph               I   only if defendant is not afederal governmental agency.)

     (a)     tr           the United States Equal Employrrent Opportunity Commission has not

                          issued aNotice of Right to Sue.

     (b)    E the United States Equal Employment Opportunity Commission                                   has issued

                          aNotice of Right to Sue,which was received by the plaintiffon

                          (nonttt)-.*fu      I
                                                 i3-@29--b-(y"d22-l-b-a                                    copv of which

                          Notice is attached to this complaint.


9.   The defendant discriminated against the plaintiffbecause of the plaintiffs fcheck only

     those that applyl:

     (a)        {     Or"(Age Discrimination Employment Act).

     O) {roror(Title                  VII of the Civil Rights Act of            1964 ard42 U.S.C. $1981).



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      Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 4 of 16 PageID #:4
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      (c) ffnisability             (Americans with Disabilities Act or Rehabilitation Act)

      (d) E          National Origin (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).

      (e) E          Race (Title     VII of the Civil Rights Act of            1964 and42 U.S.C. $19S1).

      (f) tr         Religion (Title VII of the Civil Rights Act of 1964)

      (g) El Sex (Title VII of the Civil Rights                    Act of 1964)


10.   If the defendant is a state, county, municipal (city, town or village) or other local

      governmental agency, plaintifffurther alleges discrimination on the basis of race, color, or

      national origin (42 U.S.C. $ 1983).


11.   Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

      by 28 U.S.C.$1331,28 U.S.C.$13a3(a)(3), and 42 U.S.C.$2000e-5(f)(3);for 42

      U.S.C.$1981 and $l983by 42 U.S.C.$1988; forthe A.D.E.A.by42 U.S.C.$l2ll7; forthe

      Rehabilitation Act,29 U.S.C. $ 791.


12.   The defendant lcheck only those that applyl
      (a)    tr
             failed to hire the plaintiff.

      (b)    tr     terminated the plaintiffs employment.

      (c)    tr     failed to promote the plaintiff.

      (d)    tr     failed to reasonably accommodate the plaintiffs religion.

      (e)    tr     failed to reasonably accommodate the plaintifPs disabilities.

      (0  E failed to stop harassment;
      (g) E retaliated against the plaintiffbecause the plaintiffdid something to assert rights
             protectedbvthe^*"#?E'i:t1y"ffiy*u#oilrn,d*.l.0ul.uk) Bca''W
      (h) f, other (specifyl: Un{zn- Auh,rr h - rue&ahi,,h) kfr
                                                                                o

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      Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 5 of 16 PageID #:5

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                  lh-+cD V*,a+r)                                  ka"n " /bsucr-h-J Lutfn-f,<*                                /,m)L.--^



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                  arrd wa.lt4a U^d,r /v-L- IMH
13.    The facts supporting the plaintiff s claim of discrimination are as follows:

        ' LC*- t f                     0t   rcch-i- S+t- a" e/ac-h,n.--, I
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           A{siii#f,,{ DMb, frcs,dq-} LU)l't- t+ D L MHL a' K'4u/r'1)
                  fltgst4,lrfi*
14.    IAGE DI{CRfMINATION ONLY| Defendant knowingly, intentionally, and willfully
       discriminated against the plaintiff.

15.    The plaintiff demands that the case be tried by                    a   jury. WYes       tr   No

16.    THEREFORE, the plaintiffasks that the court grant the following relief to the plaintiff
       lcheck only those that applyl

       (a) E             Direct the defendant to hire the plaintiff.

       (b) E             Direct the defendant to re-employ the plaintiff.

       (c) E             Direct the defendant to promote the plaintiff.

       (d) E             Direct the defendant to reasonably accommodate the plaintiff s religion.

       (e) E             Direct the defendant to reasonably accommodate the plaintiff s disabilities.

       (f)          Ehirect       the defendant to       (specify):       Slqa        ha    r sg.r--n/t J ,a.l



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         (e)         tr    If available, grant the plaintiff appropriate injunctive relief, lost                  wages,
                           liquidated/double damages, front pay, compensatory damages, punitive
                           damages, prejudgment interest, post-judgment interest, and costs, including
                           reasonable attorney fees and expert witness fees.

         (h) {Cruntsuch other relief as the Court may find appropriate.



         (Plaintiff       s signature)


            tvl   cLrLn         t.     Braoun

            / e/- ut,         il)a-ln,r* r$>enut
         (Plaintiff     s street address)



                                                   (stat)        )   L        (zte)     boqTg

         (Plaintiff s telephone number)              OAb       - ?32'54                  z?
                                                                                   Date:             e/    ru/ u




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        EEOC Form 5   ('11



                             Cnnnce oF DIScRIMINATIoN                                                          Charge Presented           To:         Agency(ies) Charge No(s):
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                                                                                                                     n EEoc  FEPA

                                                                                                                     tr                                    uo-2016-04760

                                                                                State or local          if
       Name (lndicate Mr., Ms., Mrs)
                                                                                                                                                                     Date of Birth
        Margo E. Brown
                                                                                                                                                                   09-09-1956
                                                                                       Ctty, Stat€ and Ztp Code
       18640 Walnut Avenue, Country Club Hills, lL 6047g

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      COUNTRY CLUB HILLS SCHOOL DISCTRICT
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    THE PARTICULAA


     I began my emptoyment with Respondent-in or about
                                                           Augft lggg: Mycurrent position ls District
                                     is aware or the union prl;id;ib ;;#[,il,r. on or about June 7, 2016,
     ,T:1"1",::ir'i:;:"r:'Respondent
     I believe I have been discriminated against
                                                 because of
     Americans with Disabirities Act of 1gbo, as amended. ' disability, and in retaliation, in violation of the

                                                                                                                                *-Hr?,:r'-

                                                                                                 NOTARY- Wh"n        r"r"

I   declare under   penaff     perjury that the above      true and correct.
                                                                                                 I swear or affirm
                                                                                                    best
                                                                                                                     rnrt,
                                                                                                         of my knowledge,
                                                                                                                             nrr"arl-ffi
                                                                                                 l|':                            inrormation and belief.
                                                                                                 srcNAruRE   or coupulruerur


     Jun 28, 201         6                                                                       SUBSCRIBED AND SWORN TO
                                                                                                                         BEFORE ME THIS DATE
                                                                                                 (month, day, year)
            Data
                                 Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 8 of 16 PageID #:8
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       To:        Margo E. Brown
                  18640 Walnut Avenue                                                             From:
                 Gountry Club Hi[s, tL 60478
                                                                                                              !!r!cago District Office
                                                                                                              S00 West Madison Si
                                                                                                              Suite 2000
                                                                                                              Chicago, tL 60661



      EEOC Charge No.
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     _E                                                lnvestigator
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                          The facts alleged in the
                                                   charge fail to state a ctaim
                                                                                under any of the statutes
                                                                                                          enforced by the EEOC.
                          Your allegations did not invotve
                                                           a disabirity as defmed o,
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        I= I           The Respondent employs
                                              less than the required number
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                                                                             behalf of the

inclosures(s)

                                                                    .l1l.ia.n1e Bowman,
                                                                                                                                 -!r
                                                                     District Director                                                 (Date Maited)
                      y-B^T.F L s s c H oo L DrscrR rcr
        8fl :IJ5I.gl
        Chief Executive Officer                         1 60

        4411 West 185th Street
        uountry Club Hiils, lL 604Zg
                  Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 9 of 16 PageID #:9

                                                                        Country Glub Hills School District 160
                                                                                      Mll West 1SSS Street
                                                                           Gountry Club Hills, lL 604786219




 MEMORANDUM


 DATE:          April 73,2016

 TO:            Margo Brown

FROM:           Jennifer Volpe, Director of Special Services

RE:             Letter of Direction

CC:            Dr. Karen Jones
               Dr. Antonia Hill
               Mrs. Bridget Harris
               Lynette Campbell


This Letter of Direction is written regarding our concerns with your per{ormance during the 201S2015
school year.


       1.   PnoblemAreas


               Interacting with administration in a disrespectful manner.

               Displaying a negative auitude and comments in team and IEP meetings, impacting school culture.

               Failure to comply with the Director's directive to facilitate 504 Plan meetings.


u.          Prior l)iscioline and/or Direction

        o     Prior Direction: Communicate issues and concerns following the dishict administrative hierarchy.
        .     Prior Direction: Directed to facilitate 504 Plan meetings for the 2015-2016 School year.



IIr.        Expectations and Immediate Action
     Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 10 of 16 PageID #:10


o    When interacting with building and District administators, verbally and/orvia email, use professional
     and respecfrrl communication. Respectful communication   includes               tong and voice
    volumg and refraining tom intemrping and/a speaking over the other person. Communicating
    frustration and/or disagreement is appropriate, howeve,r, always be mindfirl ofthe way in which you
    deliver the cont€xrt of your message.
    When interacting with staff, refrain from negative comments regarding adminiskation, distict
    procedures and issues that are more appropriately discussed in a private meeting.
    If you have complaints, schedule a meeting wi& the appropri*e administrato(s) and follow the chain
    of command. Bring all issues and concerns to the building and distict adminisuation for resolution not
    the Superintendent. Ifyou have followed all channels of communieation with the administation and
    the issue is not resolvg you should then contact&e Superintendent's office and make an appointnent
    to speak with her. It is not appropriate for you to cc her on numerous emails. You may sontact the
    Superintendent in cases of crisis or emergency.
    Ensue all stude,nts requiring 504 Plan annual revievns are conducted by June 10,2016



You are to undertake the above changes in your oonduet and performance immediately. These changes
need to continue for the 2016-2017 school year.




Received by:                                                             Date:
                                 Employee

Employee refused to sign.   ,/

OU*^O*
                                                                         '*"'?         't€;ry4
Administrator:                                                           Date:
              Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 11 of 16 PageID #:11



                                                                      Gountry Club Hills Schoo! District 160
                                                                                     441{ West 18Ss Street
                                                                         Country Club Hills, lL 60478-5219
              -srErl-
                                                                                                     Jennifer J. Volpe
                                                                                        Director of Student Services
                                                                                        Jennifer.volpe@cch 1 60.org
                                                                                                 708.957.6200 Voice
                                                                                                  708.957.8686 Fax

MEMOFIANDUM



DATE:         June7,2016

TO:           Margo Brown

FROM:         Jennifer Volpe, Director of Student Services


RE:           Letter of Direction and Summary of Meeting


This Letter is written to memorialize the concerns and solutions discussed at the meeting held
                                                                                               on May 1g, 2016.

l.    Concern: Letter of Direction
      Solution: The letter of direction will not be placed in your personnel file or used in your evaluation for
                                                                                                                 the
      2016-2017 school year. I am confident we have engaged inconversation and reflection regarding
                                                                                                           concerns
      addressed in the letter.

2.   Concern: Ordering materials
     Solution: All health office materials, cabinets for storage in the buildings, office supplies and postage
                                                                                                               should
     be ordered through Cheryl Sheridan. Please submit the iequisition to thJdepartment
                                                                                             no later than Junel5ft.

3.   Concern: New AED,s
     Solution: Submit a requisition to Cheryl Sheridan no later than June    15ft. Please   identiff the building and
     location for each AED.

4.   Concern: Staffprofessional development
     Solution: Nurse Brown indicated she would like to be a member of the District Institutelprofessional
     Development Committee next year. She will be placed on the 2016-2017 committee roster.

5.   Concern: IEP meeting procedures
     Solution: During the May 27,2016 SIP day,I met with some members of the Student Services Department,
     including Nurse Brown to clarifr and discuss established written district meeting procedures,
                                                                                                   staff roles and
     challenges experienced this year. Those in attendance developed solutions r"gu;ing scheduling,
                                                                                                       notices to
     parents and staff, consent, cancellations and pre-IEP meetings. The written piocedures
                                                                                            will be ipdated to
     include additional information we discrssed on SIP Day. Ali Student Services staff will receive
                                                                                                      updated
     written procedures and a review of the Student Servicei Department expectations in the fall of 2016.
              Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 12 of 16 PageID #:12


 6.   Concern: Health oflice coverage/substifute procedures
      solution: Dr' Kibbons indicated    an in distric, iT:: sulsti_tute pool would be
                                                                                        established for the 2016-2o17
      school year' The eligible substitute candidates will be
                                                                loaded in egsop. Nurse substitutes will be requested
      for absences, conferences, field trips, vision/hyqg r"*"ri"g,
                                                                              in the same manner in which teacher
      substitutes are requested. To date, the posting for tlie            "t". position is
                                                               substituie nurse            live on the dishict website.
 7.   concern: southwood rreafth office coverage for 2orilZLrl
      solution: continued follow up with Dr. Thomas regarding
                                                                   coverage at southwood for next school year-


cc: Dr. Sandra Thomas, Superintendent
    Dr. Pam Kibbons, Director of Human Resources
        Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 13 of 16 PageID #:13




MEMORANDUM



Date: Aprilt7,2OL6

To: Mrs. Volpe

From: Margo E. Brown, RN. District Nurse

Re:   Rebuttalto "Letter of Direction"

CC:   Dr. Karen Jones
      Dr. Antonia Hill
      Mrs. Bridget Harris
      Lynette Campbell
      Dr. Sandra Thomas

This letter is a rebuttalto your concerns about my performance this school


ln regards to our meeting on Friday, April 15, Z.OLG I feel that I must respon
direction even though you stated that this letter would not be placed in my
used in my evaluation next year. Since this was supposed to be a conversat
with this "letter of direction", which gave the meeting the flavor of a discip
unfortunate that a letter regarding performance is not issued until April 15-
no way reflects my overall performance for the 20L5-2016 school year.

According to your letter there had been problems with my interacting with
disrespectful manner, displaying a negative attitude and comments in tearr
impacting school culture and failure to comply with the director's directive
meetings.

When I questioned you about specific examples of any interactions with ad
were disrespectful, you were unable to provide me with any specific examF
alleged behavior and I have not been told by any administrator verbally or -
cornmunication has been inappropriate. When I asked for examples of whe
negative attitude or comments, you were again unable to provide any exarr
perceived attitudes. Your directive to facilitate 504 plan meetings was neve
you stated I would not be doing anything different than I had been doing ar
was to hire a new schoo! psychologist. My concern that I expressed at the t
needed refresher training. You have not responded to this request or made
adjust or consider my current workload since there has been a change in st
Geoffrey left the district we had split the workload for 504 meetings. Since
there has been any adjustment of the workload.
Case: 1:16-cv-09396 Document #: 1 Filed: 09/30/16 Page 14 of 16 PageID #:14
6n12016           Case: 1:16-cv-09396COUNTRY
                                      Document
                                             CLUB #:    SD 160 Mail
                                                     1 Filed:
                                                  HILLS             - "Rescerd Page
                                                                09/30/16       Letter of Direction"
                                                                                         15 of 16 PageID #:15
             ;

 6f,\                                                                                       Margo Brown <margo. brown@cchl 60.o19>
 \D/
  "Rescend Letter of Direction"
  Fowler, Erin     <ef@franczek.com>                                                 Tue, Jun 7,2016 at 9:02 AM
  To: "Dr. Sandra Thomas"   <dr.sandra.thomas@cch160.org>, Margo Brown <margo.brown@cch160.org>
  Cc: JenniferVolpe <jennifer.volpe@cch160.o19>, Pamela Kibbons <pamela.kibbons@cch160.org>, Sharon Mack
  <mssharonmack22Tl@yahoo.com>, Sharon Mack <sharon.mack@cchl60.o19>,1494-115007 Country Club Hills
  School District 160 _ Grievances 2015_2016 E_mail <{F189189}.iManagel@r2d2.franczek.net>


     Hello All,



     Please disregard the email sent just a few minutes ago. lt was inadvertently sent to a few for whom it was not
     intended. We would greatly appreciate if you would delete this email.



     Thanks,

     Erin




     From: Fowler, Erin
     Sent: Tuesday, June 07, 2016 9:01 AM
     To: 'Dr. Sandra Thomas'; Margo Brown
     Cc: Jennifer Volpe; Pamela Kibbons; Sharon Mack; Sharon Mack; '1494-115007 CounUy Club Hills School Disfict
     160 _ Grievances 2015_2016 E-mail'
     Subject: RE: "Rescend Letter of Direction"


     Dr. Thomas,




     Mike and I received your email to Nurse Brown responding to her email to you Friday afternoon. Your
     correspondence seems to have appropriately redirected Nurse Brown to the proper administrator based on
     the established chain of command. Would you like us to further draft any response to this matter at this time?



     Thanks,

     Erin




     From: Dr. Sandra Thomas [mailto:dr.sandra.thomas@cch160.org]
     Sent: Sunday, June 05, 2016 9:31 AM
https://mail.google.corn/mail/ca/ry'0/?ui=2&k=0a9e7a2567&vi6tr,=pt&search=inbo<t6sg='l552b2c5a8ac270d&siml=1552b2c5a8acZ0d           112
V7m16 . Case: 1:16-cv-09396COUNTRY
                            Document
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                                        HIIIS         09/30/16
                                              SD 160 Mail           ldhr of Dir*tisr"
                                                          - "Recerd Page    16 of 16 PageID #:16
  to: ladrgo Brown
    Cc: Jennifer Volpe; Pamela Kibbons; Sharon Mack; Sharon Mack
    Subject: Re: "Rescend Letter of Direction"


    Good aftemoon/evening Nurse Brown,

    [Quoted text hidden]
    [Quoted text hidden]




l'rttps//mail.gpogle.cqn/mail/cdr.r/Mui=2&k=0de7a256/Evierv-S&seach=inbor&msgr1562b2c5a8acZ0d&siml=1562b2c5a8acZ0d   2t2
